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                    ATTACHMENT
                               A
                   Redacted Docket Materials
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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

 IN RE APPLICATION OF THE UNITED
 STATES OF AMERICA FOR AN ORDER
                                                  Misc. No.
 PURSUANT TO 18 U.S.C. § 2703(d)
 DIRECTED AT YAHOO RELATING TO
                                                   Filed Under Seal
 ACCOUNT




               APPLICATION OF THE UNITED STATES
            FOR AN ORDER PURSUANT TO 18 U.S.C. 4 2703 d
DIRECTED AT YAHOO RELATING TO ACCOUNT

       The United States of America, moving by and through its undersigned counsel, respectfully

submits under seal this ex parte application for an Order pursuant to 18 U.S.C. § 2703(d). The

proposed Order would require Yahoo! Inc. ("Yahoo"), an electronic communication and/or remote

computing service provider located in Sunnyvale, CA, to disclose certain records and other

information   pertaining    to   the   Yahoo    account(s)    associated     with   email   account

                           as set forth in Part I of Attachment A to the proposed Order. The

records and other information to be disclosed are described in Part II of Attachment A to the

proposed Order. In support of this application, the United States asserts:

                      LEGAL BACKGROUND AND JURISDICTION

       1.      Yahoo is a provider of an electronic communication service, as defined in 18 U.S.C.

§ 2510(15), and/or a remote computing service, as defined in 18 U.S.C. § 2711(2). Accordingly,

the United States may use a court order issued under section 2703(d) to require Yahoo to disclose

the items described in Part II of Attachment A. See 18 U.S.C. § 2703(c)(2) (Part ILA of

Attachment A); 18 U.S.C. § 2703(c)(1) (Part II.B of Attachment A).

       2.      This Court has jurisdiction to issue the requested Order because it is "a court of

competent jurisdiction" as defined by 18 U.S.C. § 2711. 18 U.S.C. §§ 2703(a), (b)(1)(A) &
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(c)(1)(A). Specifically, the Court is a "district court of the United States . . . that — has jurisdiction

over the offense being investigated." 18 U.S.C. § 2711(3)(A)(i). As discussed more fully below,

acts or omissions in furtherance of the offenses under investigation occurred within Washington,

DC. See 18 U.S.C. § 3237. Finally, the offenses under investigation are the subject of a grand

jury investigation in the District of Columbia.

        3.      A court order under section 2703(d) "shall issue only if the governmental entity

offers specific and articulable facts showing that there are reasonable grounds to believe that . . .

the records or other information sought . . . are relevant and material to an ongoing criminal

investigation." 18 U.S.C. § 2703(d). Accordingly, the next section of this application sets forth

specific and articulable facts showing that there are reasonable grounds to believe that the records

and other information described in Part II of Attachment A are relevant and material to an ongoing

criminal investigation.

                                     THE RELEVANT FACTS

        4.      The United States is investigating                   and co-conspirators known and

unknown for facilitating business activity between individuals in the U.S. and designated terrorists

in Afghanistan and Pakistan. This investigation concerns possible violations of, inter alia,

financing terrorism, in violation of 18 U.S.C. § 2339C, and Title 18, U.S.C. § 1956(a)(2)(A) (the

international promotional money laundering statute).

        The Target Account is Associated with                , a Designated Terror Financier

        5.      Law enforcement began investigating                   based on his connection to

M.     In June 2011, the Department of Treasury designated               for financing the Taliban and

Haqqani Network. A Confidential Human Source (CHS) indicated that after                 was designated,

he began doing business through front companies that transacted business internationally. The




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CHS additionally indicated that         and his associates used money derived from front companies




                                  M
to financially support the Haqqani Network.

       6.       Financial records also reveal that              used                    to transfer money




                                                        M
internationally prior to, and immediately following, his designation; however, after this time he

stopped using                  . Law enforcement believes that after being designated, he began

using other individuals to make payments on his behalf. Law enforcement believes this to be an

attempt to avoid detection by law enforcement.

       7.       During the course of the investigation, =             was detained by           authorities.

In December 2015, U.S. law enforcement conducted a Mirandized interview with                      while he




                                                                                            M
was incarcerated by                   During this interview, =         admitted to being involved with the

Taliban Regime, to knowing senior officials in the Haqqani terrorist network, and indicated that

he was friends with



       8.       This Court previously issued a sealed search warrant for the content of

Facebook Account. See                                           The search warrant returns revealed

communications with multiple suspected terrorists who operate in Afghanistan and Pakistan.

These search warrant returns also corroborated that             wa:
                                                            M
       9.       The search warrant returns also revealed that =           and a person by the name of •

M, using Facebook ID                               were part of a discussion group with 15 other

individuals. Law enforcement is aware that Facebook discussion groups are a discreet way for

individuals with common purposes to privately communicate.




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         10.   Financial returns indicate that M, like              has transferred money internationally




                                                                ,
via                  .       received $500 fron                      via                in October 2012.

                    claimed his employment was '                                      press indicates that

                    was previousl                                                   and was formerly the

                                                  Law enforcement is aware that                      was




         11.             received a payment via                            from an individual in 1=

                                      who used an             phone number ending in                 Law

enforcement uncovered evidence indicating that i                                four individuals emplaced

an improvised explosive device targeting a U.S. unit in July 2012. These individuals were detained

at the scene of the crime and all tested positive for explosive residue. Their cellular phones were

taken at that time and one of the phones listed the                  phone number ending in           -is a

contact, indicatinMas likely in communication with one of these insurgents.

         12.             received $500 via                 from an individual named                  who

claimed to reside                                            listed an           phone number ending in

M n his contact form when he sent this financial transfer. This phone number is associated
with the Facebook profile of                          Phis Facebook profile indicates
                                                                                         that
is interested in, among other things

                                                           Law enforcement is aware that insurgents

operating in                   ften express interest in defense related Facebook pages to get automatic

updates from these Facebook pages to learn of potential targeting opportunities.




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         13.      In April 2016, law enforcement subpoenaed the subscriber information for

Facebook account (Facebook ID                            See                      The subpoena returns

revealed that the Facebook account had a registered user name o                            ' however, the

account name visible to the public is                  Law enforcement is aware that this indicates

that the user changed their user name after creating the account. IP logins show this account was

primarily accessed from                   The subpoena returns show that the account is associated

with a                  phone number ending in         and a               hone number ending i

Both of these phone numbers have been verified by Facebook, and                listed th

phone number ending in ■         on                 financial transfers.

         14.      Law enforcement conducted a review of the           Facebook profile. This review

revealed multiple indications that       is affiliated with extremists beyond

               a. On July 30, 2015, shortly after the Taliban announced that their leader, Mullah

                  Omar, had died,

               b. On August 5, 2013,      posted the words




         15.      This Facebook account list                                 "Target Account") as the

"Registered Email Address", indicating that this account is used by the same individual as the

Facebook account.




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                                    REQUEST FOR ORDER

       16.     The facts set forth in the previous section show that there are reasonable grounds

to believe that the records and other information described in Part II of Attachment A are relevant

and material to an ongoing criminal investigation. Specifically, these items will help the United

States to identify and locate the individual who is responsible for the criminal activity under

investigation, and to determine the nature and scope of that criminal activity. Accordingly, the

United States requests that Yahoo be directed to produce all items described in Part II of

Attachment A to the proposed Order.

       17.     The United States further requests that the Order require Yahoo not to notify any

other person of the existence of the Order, including the subscriber or customer of each account

identified in Attachment A. See 18 U.S.C. § 2705(b). Acting under 18 U.S.C. § 2703(c)(1)-(2),

the Government is not required to provide notice to a subscriber or customer regarding the

proposed Order. See 18 U.S.C. § 2703(c)(3). Furthermore, this Court has authority under 18

U.S.C. § 2705(b) to issue an order commanding a provider of electronic communications service

or remote computing service to whom . . . [the] court order is directed, for such period as the court

deems appropriate, not to notify any other person of the existence of . . . [the] court order. See

18 U.S.C. § 2705(b). Such a nondisclosure order must be issued if this Court finds reason to

believe that notification . . . will result in(1) endangering the life or physical safety of an

individual; (2) flight from prosecution; (3) destruction of or tampering with evidence; (4)

intimidation of potential witnesses; or (5) otherwise seriously jeopardizing an investigation or

unduly delaying a trial. Id.; see In re Application for Order of Nondisclosure Pursuant to 18

U.S.C. § 2705(b) for Grand Jury Subpoena #GJ2014031422765, 41 F. Supp. 3d 1, 5 (D.D.C.

2014) (Once the government makes the required showing under § 2705(b), the court is required




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to issue the non-disclosure order.).

       18.     An order of nondisclosure is necessary because the proposed Order relates to an

ongoing criminal investigation that is neither public nor known to the target(s) of the investigation,

and its disclosure may alert the target(s) to the ongoing investigation. Once notified, potential

target(s) would be prompted to destroy or conceal incriminating evidence, change patterns of

behavior to evade future detection, and otherwise attempt to undermine the investigation and avoid

prosecution. Accordingly, there is reason to believe that notification of the existence of the

proposed Order would seriously jeopardize the investigation, including by giving potential

target(s) an opportunity to endanger a person, flee from prosecution, destroy or tamper with

evidence, and intimidate potential witnesses. See 18 U.S.C. § 2705(b)(1)-(5).

       19.     Given the complex nature of the criminal activity under investigation, potential

involvement of foreign-based perpetrators, and/or foreign-based, the Government anticipates that

this investigation will remain ongoing and confidential for the next 180 days or longer. However,

if circumstances were to change such that the requested order of nondisclosure becomes no longer

necessary, the Government will notify the Court and seek appropriate relief.

       20.     In this matter, the Government also requests that the instant Application and the

Order be filed under seal. The Court has the inherent power to seal court filings when appropriate,

including the proposed Order. United States v. Hubbard, 650 F.2d 293, 315-16 (D.C. Cir. 1980)

(citing Nixon v. Warner Communications, Inc., 435 U.S. 589, 598 (1978)). More particularly, the

Court may seal the Application and Order to prevent serious jeopardy to an ongoing criminal

investigation when such jeopardy creates a compelling governmental interest in confidentiality.

See Washington Post v. Robinson, 935 F.2d 282, 287-89 (D.C. Cir. 1991). For the reasons stated




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above, the Government has a compelling interest in confidentiality to justify sealing the

Application and Order. See id.



                                                Respectfully submitted,

                                                CHANNING D. PHILLIPS
                                                UNITED STATES ATTORNEY


                                          By: ____/s/_____________________
                                             ZIA M. FARUQUI
                                             Assistant United States Attorney
                                             D.C. Bar Number 494990
                                             United States Attorneys Office
                                             555 Fourth Street, N.W.
                                             Washington, D.C. 20530
                                             Telephone: 202-252-7117
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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

 IN RE APPLICATION OF THE UNITED
 STATES OF AMERICA FOR AN ORDER
                                                   Misc. No.
 PURSUANT TO 18 U.S.C. § 2703(d)
 DIRECTED AT YAHOO RELATING TO
                                                   Filed Under Seal
 ACCOUNT




                                             ORDER

       The United States has submitted an Application pursuant to 18 U.S.C. § 2703(d),

requesting that the Court issue an Order requiring Yahoo! Inc. ("Yahoo"), an electronic

communication and/or remote computing service provider located in Sunnyvale, CA, to disclose

the records and other information described in Attachment A to this Order. The Court finds that

the United States has offered specific and articulable facts showing that there are reasonable

grounds to believe that the records or other information sought are relevant and material to an

ongoing criminal investigation. Furthermore, the Court determines that there is reason to believe

that notification of the existence of this Order will seriously jeopardize the ongoing investigation,

including by giving the subjects an opportunity to endanger the physical safety of individuals, flee

from prosecution, destroy or tamper with evidence, and intimidate potential witnesses. See 18

U.S.C. § 2705(b)(1)-(5).

       IT IS THEREFORE ORDERED, pursuant to 18 U.S.C. § 2703(d), that Yahoo shall, within

ten days of the date of this Order, disclose to the United States the records and other information

described in Attachment A to this Order.

       IT IS FURTHER ORDERED under 18 U.S.C. § 2705(b) that Yahoo shall not disclose the

existence of this Order of the Court to any other person for a period of 180 days or until otherwise
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ordered by the Court, except that Yahoo may disclose this Order to an attorney for Yahoo for the

purpose of receiving legal advice.

       IT IS FURTHER ORDERED that the Application and this Order are sealed until otherwise

ordered by the Court.




                                                    __________________________________
                                                    HON. ROBIN M. MERIWEATHER
                                                    UNITED STATES MAGISTRATE JUDGE

________________
Date


CC:    ZIA M. FARUQUI
       Assistant United States Attorney
       United States Attorneys Office
       555 Fourth Street, N.W.
       Washington, D.C. 20530
       Telephone: 202-252-7117
       Email: zia.faruqui@usdoj.gov




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                                       ATTACHMENT A

I. The Account(s)

       The Order applies to certain records and other information for any Yahoo account(s)

associated with the following identifier(s):

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II. Records and other information to be disclosed

       Yahoo is required to disclose to the United States the following records and other

information, if available, for each account or identifier listed in Part I of this Attachment (the

"Account(s)") for the time period from June 2011 to the present:

   A. Information about the customer or subscriber of the Account(s):

       1. Names (including subscriber names, user names, and screen names);

       2. Addresses (including mailing addresses, residential addresses, business addresses, and
          email addresses);

       3. Local and long distance telephone connection records;

       4. Records of session times and durations, and the temporarily assigned network
          addresses (such as Internet Protocol ("IP") addresses) associated with those sessions;

       5. Length of service (including start date) and types of service utilized;

       6. Other subscriber numbers or identities (including the registration Internet Protocol
          ("IP") address); and

       7. Means and source of payment for such service (including any credit card or bank
          account number) and billing records.

   B. All records and other information relating to the Account(s) (except the contents of
      communications), including:




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    1. Records of user activity for each connection made to or from the Account(s), including
       log files; messaging logs; the date, time, length, and method of connections; data
       transfer volume; user names; and source and destination Internet Protocol addresses;

    2. Information about each electronic communication sent or received by the Account(s),
       including the date and time of the communication, the method of communication, and
       the source and destination of the communication (such as source and destination email
       addresses, IP addresses, and telephone numbers), and any other associated header or
       routing information; and




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        CERTIFICATE OF AUTHENTICITY OF DOMESTIC BUSINESS RECORDS
               PURSUANT TO FEDERAL RULE OF EVIDENCE 902(11)


         I, ______________________________, do hereby attest, under penalties of perjury under

the laws of the United States of America pursuant to 28 U.S.C. § 1746, that the information

contained in this declaration is true and correct. I am employed by Yahoo! Inc. (Yahoo), and

my official title is ______________________________. I am a custodian of records for Yahoo.

I state that each of the records attached hereto is the original record or a true duplicate of the

original record in the custody of Yahoo, and that I am the custodian of the attached records

consisting of __________ (pages/CDs/kilobytes). I further state that:

         a.     All records attached to this certificate were made at or near the time of the

occurrence of the matter set forth, by, or from information transmitted by, a person with

knowledge of those matters;

         b.     Such records were kept in the ordinary course of a regularly conducted business

activity of Yahoo; and

         c.      Such records were made by Yahoo as a regular practice.

         I further state that this certification is intended to satisfy Rule 902(11) of the Federal

Rules of Evidence.




 Date                                   Signature
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                            UNITED STATES DISTRICT COURT                             MAR 2 3 2017
                            FOR THE DISTRICT OF COLUMBIA
                                                                              Clerk, U.S. District & Bankruptcy
                                                                             Courts for the District of Columbia
 IN RE APPLICATION OF THE UNITED
 STATES OF AMERICA FOR AN ORDER
                                                       Case: 1:17-mc-00610
 PURSUANT TO 18 U.S.C. § 2703(d)
                                                       Assigned To : Meriweather, Robin M.
 DIRECTED AT YAHOO RELATING TO
                                                       Assign. Date : 3/21/2017
 ACCOUNT
                                                       Description: Misc.



                                             ORDER

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that notification of the existence of this Order will seriously jeopardize the ongoing investigation,

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from prosecution, destroy or tamper with evidence, and intimidate potential witnesses. See 18

U.S.C. § 2705(b)(1)-(5).

       IT IS THEREFORE ORDERED, pursuant to 18 U.S.C. § 2703(d), that Yahoo shall, within

ten days of the date of this Order, disclose to the United States the records and other information

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       IT IS FURTHER ORDERED under 18 U.S.C. § 2705(b) that Yahoo shall not disclose the

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                                       ATTACHMENT A

I. The Account(s)

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II. Records and other information to be disclosed

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